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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
AMY MUNROE,                            )
                                       )
            Plaintiff,                 )
                                       )                     Civil Action No.
      v.                               )                     22-11935-FDS
                                       )
BOSTON MEDICAL CENTER,                 )
                                       )
            Defendant.                 )
_______________________________________)

                        MEMORANDUM AND ORDER ON
                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

SAYLOR, J.

       This is a dispute arising out of a mandatory COVID-19 vaccination policy for employees

of defendant Boston Medical Center (“BMC”). That policy, implemented in August 2021,

allows for medical or religious exemptions under certain circumstances. Shortly after the policy

was announced, plaintiff Amy Munroe, a BMC staff nurse, submitted a request for exemption

based on her asserted pagan religious beliefs. Plaintiff contended that her pagan beliefs

prevented her from receiving the vaccine because, she asserted, the mRNA technology used in

COVID vaccines could affect the natural state of her body by manipulating her genes and DNA.

       Her request for an exemption was denied, and on October 15, 2021, BMC terminated her

employment for failure to comply with the vaccination policy. The complaint alleges that her

termination was an act of religious discrimination in violation of both Title VII of the Civil

Rights Act, 42 U.S.C. § 2000e-2(a), and Mass. Gen. Laws ch. 151B.

       Defendant has moved for summary judgment and plaintiff has moved to strike portions of

the deposition of John Hickey, which is part of the evidentiary record. For the following
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reasons, plaintiff’s motion to strike will be denied and defendant’s motion for summary

judgment will be granted.

I.     Background

       The following facts are undisputed unless otherwise noted.

       A.      Factual Background

               1.     Parties

       Boston Medical Center is an acute-care hospital located in Boston, Massachusetts. (ECF

33 ¶ 2).

       Amy Munroe was employed as a staff nurse by BMC from October 1998 to October 15,

2021. (Id. ¶ 3). She worked on a renal and medical floor in the hospital. (Id.).

               2.     COVID-19

       COVID-19 is a contagious viral disease that can cause serious illness and death. The first

known case of COVID-19 occurred in December 2019. See WORLD HEALTH ORG., ARCHIVED:

WHO TIMELINE – COVID-19 (Apr. 27, 2020). By March 2020, it had spread into a worldwide

pandemic. Id. As of this writing, more than 1.2 million people in the United States have died

from COVID-19. CTRS. FOR DISEASE CONTROL AND PREVENTION, PROVISIONAL COVID-19

MORTALITY SURVEILLANCE (last updated June 28, 2025). COVID-19 is particularly dangerous

for the elderly, and for people with lung conditions; heart disease; brain and nervous system

conditions; diabetes; obesity; cancer; certain blood disorders; a weakened immune system;

chronic kidney or liver diseases; and Down syndrome. MAYO CLINIC, COVID-19: WHO’S AT

HIGHER RISK OF SERIOUS SYMPTOMS? (July 21, 2023).

       The first known case of COVID-19 occurred in December 2019. See WORLD HEALTH

ORG., ARCHIVED: WHO TIMELINE – COVID-19 (Apr. 27, 2020). By March 2020, it had spread



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into a worldwide pandemic. Id. In December 2020, the Food and Drug Administration used an

Emergency Use Authorization to approve the Pfizer-BioNTech vaccine, and approval for other

COVID vaccines followed. (Compl. ¶ 9).

               3.     The COVID-19 Vaccination Policy

       From March 2020 to the end of the COVID-19 public health emergency, BMC was on

the front lines of the pandemic. (ECF 33 ¶ 10). Between January 31, 2020, and July 31, 2021,

BMC treated 3,281 patients for COVID-19. (Id. ¶ 11). During that time, 226 patients died, and

several hundred BMC staff contracted COVID-19. (Id.). BMC began offering the COVID-19

vaccine to employees soon after it became available in January 2021. (Id. ¶ 12).

       In August 2021, BMC implemented an immunization policy that required all employees

receive the COVID-19 vaccine. (Id. ¶¶ 14-15). The policy stated as follows: “COVID-19

vaccination is a requirement to work or volunteer or to be visiting personnel at BMC unless

BMC approves a medical or religious exemption from the requirement for immunization.”

(Compl. Ex. A at 1). The policy included instructions for submitting a request for an exemption

and advised that individuals who did not comply with the policy would be “subject to

disciplinary action up to and including termination of their employment.” (Id. at 2).

       Between January and July 2021, the Centers for Disease Control and Prevention (“CDC”)

recommended that healthcare workers receive the COVID-19 vaccine and published data

showing that the vaccine was effective at reducing the symptoms of the virus and decreasing its

spread. (ECF 33 ¶ 13). Based on the CDC’s recommendations and published data, and on its

own experience as a hospital during the pandemic, BMC concluded that a vaccinate mandate for

employees was necessary to protect both patients and employees. (Id. ¶ 16).

               4.     Plaintiff’s Request for an Exemption



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        On August 20, 2021, Munroe submitted a request for exemption from the vaccination

policy because of her religious beliefs. (Compl. Ex. B. at 1). The request included a personal

statement. (Id. at 3-5).

        Munroe’s statement began by stating that she “was born into a Roman Catholic family,”

but after becoming an adult, she “realized that [she] was definitely not ‘a Catholic.’” (Compl.

Ex. B at 4). She later “formed [her] own thoughts but did not know what they amounted to as far

as ‘a religion.’” (Id.). Years later, she “realized that [her] beliefs lined up with the ancient

religion Paganism.” (Id.). She stated that “Pagans were peaceful Nature worshippers who

believed in leaving others to do what they saw fit for themselves.” (Id.).

        The statement went on to say:

        I believe that we are children of the Mother Earth which has [its] own spirit. I believe in
        the Circle of Life. Mother Nature is God and She is the most powerful force on Earth.
        She created all things and all that She created is meant to be here on the Earth. All things
        made by her, humans, animals, birds, insects, trees, flowers, rocks, unicellular organisms,
        parasites and viruses serve a purpose on the planet although that purpose may not be
        known to man. She created humans with, amongst other things, innate senses, minds to
        think, and immune systems to protect. It is my belief that wildfires, global warming,
        earthquakes, and the Covid pandemic itself are signs that she is angry with Her humans
        and wants to humble them, lest they forget that there can only be one center of a circle
        and that She is that center. Man is not the center of the universe, nor the most powerful,
        nor any more or less important than other forms of life. When Mother Nature delivers
        plague and widespread disease it is because the Earth is out of balance and needs to be
        restored to equilibrium. It is evident to me that the more man attempts to dominate the
        earth the more he tries to control and interfere with natural occurrences, and the more he
        distances himself from nature the worse off he will be.

        Despite being a nurse, or maybe because of being one, I personally do not participate in
        western medicine the same way that most people do. In accordance with my beliefs, I opt
        to rely on Mother Nature for natural remedies to heal my ailments, or to suffer through
        them until I am well. Mother Nature will get me through them, or she won't. When my
        time is up, and She comes for me, I will go without fear, knowing that I have completed
        the Circle of Life and will become part of the Earth again in a different form.

(Id. at 5).

        She described her unwillingness to take the vaccine as follows:

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         I have not been to a doctor in at least fifteen years. I take no medications. The
         first year that BMC mandated the flu shot I opted to wear a mask for the season.
         That option has since been taken away. I begrudgingly get the vaccine every
         year . . . . At least the flu vaccine, unlike the Covid genetic therapy treatment, is
         made from a dead or weakened naturally occurring virus . . . . A natural life suits
         me and it is why I practice Paganism. There may come a day when I will need
         the help of a doctor, but until that time comes, I will continue to practice natural
         healthcare at home that has served me well for three decades.

         I had Covid very recently and the immune system that Mother Nature provided
         me with got me through it. According to many studies I have better immunity
         than that which is provided by the vaccine. I am no more a danger to our patients
         than a vaccinated person. The CDC website states that the vaccine does not
         prevent disease or transmission of disease, that it lessens symptoms if one
         contracts the virus. I cannot defy Mother Nature, nor my innate instincts. Taking
         a genetic therapy treatment that I am extremely fearful of, against my will and
         better judgment, as a perfectly healthy human being, to treat a naturally occurring
         virus, goes completely against beliefs that I have held most of my life . . . .

(Id.).

         In the accompanying “Religious Organization Statement Form,” Munroe wrote that the

“Name of [her] Religious Organization” was “Paganism”; that the “Religious Organization

Address and Email” was “Outside”; and that the “Name of Religious Leader and Title” was

“Mother Nature.” (Id. at 6).

         Munroe also expressed willingness to wear additional personal protective gear such as

masks and gloves and to undergo regular testing as an alternative to the vaccine. (ECF 33 ¶¶ 40-

42).

                5.      Defendant’s Denial of the Exemption Request

         On September 24, 2021, BMC sent Munroe an initial letter rejecting her request for a

religious exemption to the vaccine mandate. (Id. ¶ 36). The letter stated that “[a]fter an initial

review, the hospital has determined that additional information is required to aid in the

evaluation of your request.” (Compl. Ex. D at 1). In particular, it said, “[w]e acknowledge that

you are making a request based on your faith as a Roman Catholic, although you do not appear


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to be relying on the Catholic Church’s most recent statements in support of COVID-19

vaccination.” (Id.).

       On September 29, 2021, Munroe responded to the letter. (Compl. Ex. C). She made an

additional statement in support of her request:

       [M]y God is Mother Nature. Submitting my body to the Covid 19 Vaccine, in my
       opinion an experimental genetic therapy, could not be more contrary to my
       religious beliefs that revolve around nature. It is my sincerely held religious
       belief that man ought not to be altering the natural workings of the human body
       and [its] immune system. We humans truly are a miracle in our natural design. It
       should be noted that the vaccine is not the only medical treatment that I would
       decline. I would never consent to chemotherapy, radiation, dialysis, artificial
       nutrition etc. In accordance with my religious beliefs, exemption from the vaccine
       is necessary.

(Id. at 3). She also stated that she had “natural immunity” because she had recovered from

COVID-19. (Id. at 4). And she proposed various workplace accommodations, largely focused

on wearing a mask. (Id.).

       In a letter dated October 7, 2021, BMC reaffirmed that Munroe had to comply with the

hospital’s vaccine requirement by October 15, 2021. (Compl. Ex. E at 1). The letter stated:

       After engaging in an interactive process with you, the hospital has concluded that
       you do not qualify for an exemption from the vaccine requirement based on a
       sincerely-held religious belief. Although we respect that you have a passionate
       objection to the COVID-19 vaccine, this personal objection does not warrant an
       exemption. Additionally, the requested accommodation would result in an undue
       hardship on the hospital.

(Compl. ¶ 11; Id. Ex. F at 1).

       On October 15, 2021, Munroe was terminated for failure to comply with the vaccination

policy. (Id. ¶ 47). BMC had determined that testing and personal protective equipment were

inadequate alternatives to reducing transmission of the virus. (Id. ¶ 43). Citing CDC

recommendations and its own experience, BMC determined that mandating vaccines was the

best way to protect the hospital, including its patients and staff, against the virus. (Id. ¶¶ 49-50).


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       B.      Procedural Background

       On November 14, 2022, Munroe brought this suit against BMC. The complaint alleges

religious discrimination under Section 703(a) of Title VII, 42 U.S.C. § 2000e-2(a) et seq. (Count

1) and Mass. Gen. Laws ch. 151B (Count 2). Defendant has moved for summary judgment,

contending that Munroe has failed to establish that her beliefs at odds with BMC’s immunization

policy were religious and sincerely held. Defendant further contends that even if Munroe’s

beliefs were religious, an exemption would have posed an undue hardship on the business. At

the same time, plaintiff has moved to strike portions of the deposition of John Hickey on the

ground that they contain hearsay and thus should not be considered.

II.    Legal Standard

       The role of summary judgment is “to pierce the pleadings and to assess the proof in order

to see whether there is a genuine need for trial.” Mesnick v. General Elec. Co., 950 F.2d 816,

822 (1st Cir. 1991) (quoting Garside v. Osco Drug, Inc., 895 F.2d 46, 50 (1st Cir. 1990)).

Summary judgment shall be granted when “there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine

issue is “one that must be decided at trial because the evidence, viewed in the light most

flattering to the nonmovant, would permit a rational factfinder to resolve the issue in favor of

either party.” Medina-Munoz v. R.J. Reynolds Tobacco Co., 896 F.2d 5, 8 (1st Cir. 1990)

(citation omitted). In evaluating a summary judgment motion, the court indulges all reasonable

inferences in favor of the nonmoving party. See O’Connor v. Steeves, 994 F.2d 905, 907 (1st

Cir. 1993). When “a properly supported motion for summary judgment is made, the adverse

party must set forth specific facts showing that there is a genuine issue for trial.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 250 (1986) (quotations omitted). The nonmoving party may



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not simply “rest upon mere allegation or denials of his pleading,” but instead must “present

affirmative evidence.” Id. at 256-57.

III.     Analysis

         A.       Munroe’s Motion to Strike

         Before reaching the merits of defendant’s motion for summary judgment, the Court must

resolve the motion to strike.

         “An affidavit or declaration used to support or oppose a motion must be made on

personal knowledge, set out facts that would be admissible in evidence, and show that the affiant

or declarant is competent to testify on the matters stated.” Fed. R. Civ. P. 56(c)(4). Plaintiff

seeks to strike parts of paragraphs 14, 15, 16, and 27 from the Declaration of John Hickey, the

Executive Director of Employee and Labor Relations at BMC, on the ground that they contain

hearsay and are thus inadmissible in court. 1 (ECF 36 at 1-3). 2 In the disputed testimony,

Hickey explains that Defendant’s decision to introduce a vaccine mandate in 2021 was “based on

the recommendations of the CDC.” (ECF 33 Ex. B ¶¶ 14, 15, 16, and 27).

         Plaintiff contends that Hickey’s statements are hearsay because they are offered either for

the truth that the CDC in fact made those recommendations, or for the truth of the underlying

efficacy claims. (Id. at 2-4). However, “an out-of-court statement . . . offered to show that the

declarant had certain information, or entertained a specific belief” is not hearsay. United States

v. Murphy, 193 F.3d 1, 6 n.2 (1st Cir. 1999). Here, Hickey’s statements are offered to show that

defendant’s policy decisions in 2021 were based in part on a specific recommendation. (ECF 38


         1
           Plaintiff cites Paragraphs 10, 11, 12, and 22 of the Declaration, but the text is taken from Paragraphs 14,
15, 16, 17 and 27.
         2
          Plaintiff also seeks to strike these statements under Local Rule 7.1. Because defendant included a Local
Rule 7.1 certification in its motion for summary judgment, the Court need not consider whether the parties met and
conferred as to any particular statement contained in the record.


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at 4). They are therefore not hearsay and are properly a part of the record for consideration on

summary judgment. See Cyr v. Bos. Med. Ctr., 2025 WL 269239, at *4 (D. Mass. Jan. 22, 2025)

(denying a nearly identical motion to strike on the same grounds); Harmon v. Bos. Med. Ctr.,

2024 WL 4815292, at *4 (D. Mass. Nov. 18, 2024) (same). The motion to strike will

accordingly be denied.

       B.      Motion for Summary Judgment

       Plaintiff alleges that defendant’s failure to accommodate her sincerely held religious

beliefs by denying her an exemption and terminating her employment violated Section 703 of

Title VII and Mass. Gen. Laws ch. 151B, § 4(1A). Title VII makes it unlawful for an employer

to “discharge any individual, or otherwise to discriminate against any individual with respect to

his compensation, terms, conditions, or privileges of employment, because of such individual’s

. . . religion.” 42 U.S.C. § 2000e-2(a). Under the statute, “religion” is defined to “include[ ] all

aspects of religious observance and practice, as well as belief, unless an employer demonstrates

that he is unable to reasonably accommodate to an employee’s . . . religious observance or

practice without undue hardship on the conduct of the employer’s business.” Id. § 2000e(j).

       The state-law counterpart, Mass. Gen. Laws ch. 151B, § 4(1), prohibits employers from

discriminating against any employee based on religion. The Massachusetts statute also makes it

unlawful for “an employer to impose upon an individual as a condition of obtaining or retaining

employment any terms or conditions, compliance with which would require such individual to

violate, or forego the practice of, his creed or religion . . . and the employer shall make

reasonable accommodation to the religious needs of such individual.” Mass. Gen. Laws

ch. 151B, § 4(1A). In construing ch. 151B, the Massachusetts Supreme Judicial Court generally

looks to federal court interpretations of Title VII for guidance, and so the First Circuit applies the

statutes interchangeably. See Noviello v. City of Boston, 398 F.3d 76, 91 (1st Cir. 2005).
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        The First Circuit “appl[ies] a two-part framework in analyzing religious discrimination

claims under Title VII.” Lowe v. Mills, 68 F.4th 706, 719 (1st Cir. 2023). A plaintiff “must first

show ‘that a bona fide religious practice conflicts with an employment requirement and was the

reason for the adverse employment action.’” Bazinet v. Beth Israel Lahey Health, Inc., 113 F.4th

9, 15 (1st Cir. 2024) (quoting Mills, 68 F.4th at 719). If the plaintiff succeeds, the burden shifts

to the defendant “to show that it ‘offered a reasonable accommodation or, if it did not offer an

accommodation, that doing so would have resulted in undue hardship.’” Id. (quoting Mills, 68

F.4th at 719).

        1.       Bona Fide Religious Belief

        Defendant first contends that plaintiff has failed to establish that her concerns about the

immunization policy were religious, and thus has not established a prima facie case of religious

discrimination. (ECF 31 at 1-2). Defendant asserts specifically that plaintiff’s pagan beliefs are

merely a pretext to cover for her personal “medical judgments on the effects of the vaccine.”

(ECF 32 at 9). However, the Court has already ruled that plaintiff’s professed beliefs are

sufficiently religious to establish a prima facie case of religious discrimination for purposes of

surviving a motion to dismiss for failure to state a claim. (ECF 24 at 17). With no additional

evidence in the record tending to undermine that analysis, summary judgment will not be granted

on that basis.

        2.       Undue Hardship

        Defendant further contends that it did not discriminate against plaintiff on the basis of her

religious beliefs because any reasonable accommodation of those beliefs would have imposed an

undue hardship on BMC. (ECF 31 at 2).




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       An accommodation poses an undue hardship “when [the] burden is substantial in the

overall context of an employer’s business.” Groff v. DeJoy, 600 U.S. 447, 468 (2023). The

undue-hardship inquiry takes a “common-sense” approach. Id. at 571. Under that approach, a

court “must take into account the context of the particular employer’s business and the nature of

operations . . . . Considerations include not only direct economic costs, but indirect ones related

to health and safety.” Antredu v. Massachusetts Dep’t of Youth Servs., 2024 WL 1539725, at *5

(D. Mass. Apr. 9, 2024) (quoting Together Emps. v. Mass General Brigham, Inc., 573 F.Supp.3d

412, 440 (D. Mass. 2021)).

       Relevant factors include the employer’s legitimate safety concerns and whether the

accommodation requires the employer to “relieve an employee of her essential job functions and

assign them to another employee.” Id. “Moreover, in determining undue hardship, it is

appropriate to consider aggregate effects when multiple employees are granted the same

accommodation.” Together Emps., 573 F. Supp. 3d at 437 (citing Trans World Airlines, Inc. v.

Hardison, 432 U.S. 63, 84 n.15 (1977)).

        Here, the undisputed facts show that defendant operates an acute-care hospital in a major

city. It can hardly be disputed that a hospital is entitled to rely upon, and apply, medical and

scientific evidence in the development and enforcement of its policies and procedures, and that

prevention of infection is of paramount importance. And defendant was certainly within its

rights to conclude that its patients and staff were likely to face an increased rate of infection had

it allowed plaintiff an exemption to the vaccine mandate. Plaintiff worked on the renal and

medical floor, which required regular contact with patients to administer medication, wash and

feed, and assist with mobility. (ECF 33 ¶ 5). Plaintiff also interacted with other employees

regularly. (Id. ¶ 9). Again, BMC treated more than 3,000 patients for COVID-19 between



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January 31, 2020, and July 31, 2021, and more than 200 of them died from the virus or its

complications. (Id. ¶ 11). In addition, several hundred BMC staff members contracted COVID-

19 during that period. (Id.). When infections peaked, the hospital was forced to close units or

convert them to care for patients who were critically ill with COVID-19. (Id. ¶ 10).

       Against that evidence of hardship, plaintiff contends only that the vaccines do not work

and insists that defendant is obligated to prove that they do work. (ECF 34 at 9-14) (conceding

that “[i]f the vaccines worked, it would not be difficult for Defendant to establish undue

hardship”). But the efficacy of the COVID vaccines—or their purported inefficiency—is not

relevant to the issue of undue hardship. The issue is the reasonableness of the employer’s

decision based on the knowledge and evidence available to it at the time.

       The First Circuit has found that when “the record demonstrates that [an employer] relied

on the objective, scientific information available to [it], with particular attention to the views of

public health authorities,” the employer “acted reasonably when it determined that vaccinated

employees are less likely to transmit COVID-19 than unvaccinated employees.” Rodrique v.

Hearst Commc’ns, Inc., 126 F.4th 85, 91 (1st Cir. 2025). Again, an acute-care hospital is

entitled to base its decisions on medical and scientific information, and it has an obligation to

protect its patients and staff from reasonably preventable risks of infection and disease.

       Without question, defendant was entitled to rely on the substantial evidence that COVID

vaccines were safe and effective. And there is no reasonable dispute that defendant acted upon

the best medical recommendations available at the time, and plaintiff has provided no evidence

to suggest otherwise. See Melino, 127 F.4th at 397 (“[I]t is uncontroverted that BMC

implemented its vaccine requirement based on the CDC’s recommendations.”).




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       In short, plaintiff has not raised a genuine dispute of material fact as to whether granting

an exemption to the vaccine mandate would cause an undue hardship to defendant. The Court

will therefore grant the motion for summary judgment.

IV.    Conclusion

       For the foregoing reasons, plaintiff’s motion to strike is DENIED, and defendant’s

motion for summary judgment is GRANTED.

So Ordered.

                                                 /s/ F. Dennis Saylor IV
                                                 F. Dennis Saylor IV
Dated: July 10, 2025                             United States District Court Judge




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